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                                 IN THE UNITED STATES DISTRICT COURT
                                  FOR THE WESTERN DISTRICT OF TEXAS
                                            WACO DIVISION

         TOM HILL                                     §
                                                      §
                 Plaintiff                            §
                                                      §
         v.                                           §
                                                      §           CIVIL ACTION NO.
         PEPPER HAMILTON LLP,                         §
         LESLIE M. GOMEZ,                             §    ______________________________
         GINA MAISTO SMITH, and                       §
         NEAL “BUDDY” JONES                           §
                                                      §
                 Defendants                           §



                                        NOTICE OF REMOVAL


TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

          Defendants Pepper Hamilton LLP, Leslie M. Gomez, and Gina Maisto Smith

(collectively the “Pepper Hamilton attorneys”) file this Notice of Removal pursuant to 28 U.S.C.

§§ 1441 and 1332.

                                        I.     INTRODUCTION

          1.      Pursuant to 28 U.S.C. § 1441, et seq., this civil action is removed from the 74th

Judicial District Court of McLennan County, Texas, where this matter was pending under Cause

No. 2016-4369-3 in a matter styled Tom Hill vs. Pepper Hamilton, LLP, Leslie M. Gomez, Gina

Maisto Smith and Neal “Buddy” Jones (the “State Court Action”).

                                  II.        NATURE OF THE SUIT

          2.      In August 2015, the Pepper Hamilton LLP law firm was retained to provide legal

services to Baylor University including conducting an independent and external review of Baylor

University’s institutional response to Title IX of the Education Amendments of 1972 and related


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compliance issues. Pepper Hamilton attorneys Leslie M. Gomez and Gina Maisto Smith

participated in rendering those legal services. Collectively, Pepper Hamilton LLP, Ms. Gomez

and Ms. Smith are hereinafter referred to as the “Pepper Hamilton attorneys.”

         3.     Plaintiff Tom Hill (“Hill”) was in 2015 an at-will employee at Baylor University

and held the job title of Associate Athletic Director for Community Relations and Special

Projects. Hill’s at-will employment at Baylor ended on May 26, 2016.

         4.     Hill asserts claims against the Pepper Hamilton attorneys for negligence in their

legal work for Baylor, intentional wrongful conduct, and defamation. Plaintiff’s First Amended

Petition pp. 1-2, para. 9-10.

         5.     Hill has also named Neal “Buddy” Jones as a defendant; however, no cognizable

cause of action is asserted against him in Plaintiff’s First Amended Petition.

                                III.   TIMELINESS OF REMOVAL

         6.     Hill commenced this lawsuit on December 13, 2016 by filing his Original Petition

against the Pepper Hamilton attorneys in the 74th Judicial District Court of McLennan County,

Texas. Hill’s Original Petition asserted that the amount in controversy was $60,000. Plaintiff’s

Original Petition, p. 2, para. 13. Removal jurisdiction based on diversity was not apparent on the

face of the pleading because it did not allege at least $75,000 in controversy.

         7.     Plaintiff’s First Amended Petition was filed ten days later on December 23, 2016.

In the First Amended Petition, Hill now alleges the amount in controversy exceeds $2,000,000.

Plaintiff’s First Amended Petition p. 1, para. 3. The Pepper Hamilton attorneys had not yet

appeared or answered the suit when the First Amended Petition was filed, and they did not

receive a copy of it at the time it was filed. Counsel for the Pepper Hamilton attorneys obtained a

copy of Plaintiff’s First Amended Petition from the McLennan County District Clerk’s office on

January 4, 2017. Thus, removal is timely because it is filed less than 30 days after receipt of the


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First Amended Petition in which Hill now alleges an amount in controversy sufficient for

removal. 28 U.S.C. § 1446.

                        IV.    BASIS FOR REMOVAL JURISDICTION

         8.      Removal is proper under 28 U.S.C. §§ 1441 and 1332 because there is complete

diversity of citizenship between Plaintiff and Defendants [exclusive of Jones, as discussed below],

and the amount in controversy exceeds $75,000, exclusive of interest and costs.

         9.      Plaintiff Hill is now, and was at the time of the filing of this action, a Texas

citizen residing in McLennan County, Texas. Plaintiff’s First Amended Petition p. 1, para. 4.

Accordingly, for diversity purposes, Plaintiff is a citizen of Texas.

         10.     Defendant Pepper Hamilton LLP is now, and was at the time of the filing of this

action, a Pennsylvania limited liability partnership, with its principal place of business in

Pennsylvania. The citizenship of an LLP is the same as the citizenship of all its partners. Carden

v. Arkoma Associates, 494 U.S. 185 (1990). All of the partners in Pepper Hamilton LLP are

citizens of states other than Texas, and none of the partners in Pepper Hamilton LLP is a resident

or citizen of Texas. Accordingly, Pepper Hamilton LLP is a not a citizen of Texas for purposes

of diversity jurisdiction. See also Plaintiff’s First Amended Petition p. 1, para. 5 (“Defendant

Pepper Hamilton, LLP is a non-resident of the State of Texas.”).

         11.     Defendant Leslie M. Gomez is a citizen of Pennsylvania. See also Plaintiff’s First

Amended Petition p. 1, para. 6.

         12.     Defendant Gina Maisto Smith is a citizen of Pennsylvania. See also Plaintiff’s

First Amended Petition p. 1, para. 6.

         13.     Defendant Neal “Buddy” Jones is a citizen of Texas. See also Plaintiff’s First

Amended Petition p. 1, para. 7. But the claims against Jones are improperly or fraudulently




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joined, so his citizenship should be disregarded in determining whether there is complete

diversity.

         14.     There is and has been at all times relevant to this Notice of Removal, complete

diversity of citizenship between Plaintiff and Defendants [exclusive of Jones, as discussed below].

         15.     According to the First Amended Petition, the amount in controversy exceeds the

jurisdictional requirement of $75,000, exclusive of interest and costs. Plaintiff has pled damages

in an amount “exceeding $2,000,000.” Plaintiff’s First Amended Petition p. 1, para. 3.

                   V.     IMPROPER/FRAUDULENT JOINDER OF JONES

         16.     Plaintiff’s First Amended Petition improperly and fraudulently joined claims against

Defendant Neal “Buddy” Jones in an attempt to plead a dramatic increase in his alleged damages

(now more than 33 times the amount Hill alleged in his initial pleading) while at the same time

avoiding federal diversity jurisdiction. Hill has asserted no independent, viable claim against Jones

under Texas law; so, in assessing diversity removal jurisdiction, the court should disregard Jones as

an improperly-joined defendant.

A.       Standard of Review

         17.     Under the doctrine of improper joinder, the court should ignore non-diverse

defendants, such as Jones, if the removing defendant demonstrates that there is no possibility of

recovery by plaintiff against an in-state defendant. The removing party bears the burden of

demonstrating improper joinder. Travis v. Irby, 326 F.3d 644, 649 (5th Cir. 2003). Improper

joinder can be established in two ways: (1) actual fraud in the pleading of jurisdictional facts, or

(2) inability of the plaintiff to establish a cause of action against the non-diverse party in state

court. Smallwood v. Ill. Cent. R. R. Co., 385 F.3d 568, 573 (5th Cir. 2004) (citing Travis, 326

F.3d at 646-47). Where, as here, the citizenship of the non-diverse party is not in dispute, the

removing defendant need only prove the latter. Under the latter method, the court determines


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whether the plaintiff has “any possibility of recovery against the party whose joinder is

questioned. If there is arguably a reasonable basis for predicting that the state law might impose

liability on the facts involved, then there is no [improper] joinder. This possibility, however, must

be reasonable, not merely theoretical.” Travis, 326 F.3d at 648 (quoting Great Plains Trust Co.

v. Morgan Stanley Dean Witter & Co., 313 F. 3d 305, 312 (5th Cir. 2002)) (emphasis in original)

(quotations omitted).

         18.     A determination of improper joinder must be based on an analysis of the cause of

action alleged in the complaint at the time of removal. Cavallini v. State Farm Mut. Auto Ins.

Co., 44 F.3d 256, 264 (5th Cir. 1995). In this analysis, the Court considers whether the complaint

meets the requirements of Rule 12(b)(6), “looking initially at the allegations of the complaint to

determine whether the complaint states a claim under state law against the in-state defendant.”

Smallwood, 385 F.3d at 573.

B.       There is no Reasonable Basis in Texas Law to Impose Liability
         Against Jones on the Facts Alleged

         19.     Alleged Causes of Action. Plaintiff’s First Amended Petition fails to identify a

specific cause of action against Jones. For example, Hill excludes Jones from his negligence

cause of action in Paragraph 9, limiting his claims against Jones to vague allegations of

“wrongful and intentional conduct.” Plaintiff’s First Amended Petition, p. 1, para. 9. However,

Hill later asserts that his damages were “caused by the negligence, defamation, and intentional

wrongful conduct of all Defendants.” Id. at p. 3, par. 20 (emphasis added). But Plaintiff has not

stated a claim for negligence, defamation, or intentional wrongful conduct on which relief can be

granted against Jones. All of the potential claims against Jones are founded on the following

common premise found in Paragraph 18:




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         In approximately May, 2016 the non-resident Defendants [the Pepper Hamilton
         attorneys] provided the BOR [Baylor University Board of Regents] with a document
         called “REPORT OF EXTERNAL AND INDEPENDENT REVIEW”; following the
         issuance of that Report, Defendant Jones, in concert with others, wrongfully tried to
         leverage the use of the report to influence the BOR to terminate the employment of
         President [Ken] Starr or to reassign him. As a result of Defendant Jones’ effort to
         persuade the BOR to fire or reassign Starr, he caused the collateral firing of head football
         coach Art Briles and assistant athletic director Plaintiff Tom Hill.

That asserted sequence does not state a cognizable claim by Hill against Jones.

         20.     Negligence. Plaintiff’s First Amended Petition fails to identify any act of

negligence by Jones. Hill does not allege facts establishing that Jones owed him any legal duty

arising out of either statute or common law. Without a legal duty, a defendant cannot be held

liable in tort. Nabors Drilling, U.S.A., Inc. v. Escoto, 288 S.W.3d 401, 404 (Tex. 2009). In

paragraph 16, Hill alleges that Jones once had a fiduciary duty to Baylor employees while

serving on the Baylor University Board of Regents. But in paragraph 18, Hill identifies Jones as

a former member of the Board of Regents (no longer with such an alleged duty) at the time of the

“collateral firing of … Plaintiff Tom Hill.” Since, Jones was not a member of the Board of

Regents at any time during the acts complained of by Hill, there is not a reasonable possibility

that Hill can succeed on any claim of negligence against Jones.

         21.     Defamation. To prove an action for defamation, the complained-of statement must

be false. Neely v. Wilson, 418 S.W.3d 52, 62 (Tex. 2013). The statement must also be published

or communicated to a third party. Thomas-Smith v. Mackin, 238 S.W.3d 503, 507 (Tex.App. –

Houston [14th Dist.] 2007, no pet.). Finally, as a limited-purpose public figure, Hill must prove

the defamatory statement was made with actual malice. Casso v. Brand, 776 S.W.3d 551, 554

(Tex. 1989). Here, Hill has not alleged any facts which could establish any of these elements.

First, Hill does not identify any statement whatsoever, defamatory or otherwise, allegedly made

by Jones. Second, Hill does not allege that Jones published a defamatory statement about Hill to



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any third party. In fact, in paragraph 19, Hill pleads that the defamation in question was not a

statement made by Jones at all, but that it was instead part of the sequelae of his termination by

Baylor. Third, Hill does not allege that Jones acted with actual malice. Fourth, Hill’s defamation

claim is barred because Hill did not plead that he had served Jones with a written request for

correction, clarification, or retraction as required by the Defamation Mitigation Act (“DMA”), as set

forth in TEX. CIV. PRAC. & REM. CODE § 73.055, at any time prior to service of the defamation

claim. Therefore, there is no reasonable possibility that Hill can succeed on any claim of

defamation against Jones.

         22.     Intentional Wrongful Conduct. Texas does not recognize a cause of action for

“intentional wrongful conduct.” While specific intentional torts may be viable causes of action,

(such as false imprisonment, trespass and invasion of privacy), Hill does not allege such

intentional torts, and none arises from the facts alleged in Plaintiff’s First Amended Petition.

Thus, there is no reasonable possibility of recovery for Hill’s assertion of “intentional wrongful

conduct.” Therefore, Jones’s citizenship is disregarded, and the court’s removal jurisdiction is

established based on the complete diversity between Plaintiff Hill and the Pepper Hamilton

attorneys.

                    V.    THIS NOTICE IS PROCEDURALLY CORRECT

         23.     This action may be removed to this Court pursuant to 28 U.S.C. § 1441(b),

because the Pepper Hamilton attorneys are not citizens of Texas, the state in which the action

was brought. This action is removable and venue is proper because this United States District

Court and Division embraces the place where the State Court Action was pending. 28 U.S.C.

§§ 124(a)(1), 1441(a).

         24.     Because Defendant Neal “Buddy” Jones has been improperly joined, his consent

is not needed to comply with 28 U.S.C. §1446(b). Rico v. Flores, 481 F.3d 234, 239 (5th Cir.


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2007); Perez v. Bank of Am., N.A. 2013 U.S. Dist. LEXIS 159791, *17 (W.D. Tex. Nov. 7,

2013).

         25.     Attached to this Notice of Removal are the documents required by 28 U.S.C. §

1446(a) as follows:

                 A:     Index of all documents filed in the State Court Action.

                 B:     Docket Sheet in the State Court Action.

                 C:     Copies of all process, pleadings and orders filed in State Court.

                 D:     Signed Certificate of Interested Persons.

         26.     The Pepper Hamilton attorneys are filing with the Notice of Removal a completed

Civil Cover Sheet, a Supplemental Civil Cover Sheet, and separate Disclosure Statement and

Certificate of Interested Persons.

         27.     In accordance with 28 U.S.C. § 1446(d), written notice of the filing of this Notice

of Removal will be given to all parties and to the Clerk of the 74th Judicial District Court of

McLennan County, Texas.

         28.     Trial has not commenced in the 74th Judicial District Court of McLennan County.

                                       V.      CONCLUSION

         29.     Since diversity jurisdiction exists over Plaintiff’s claims as set forth in Plaintiff’s

First Amended Petition, the Pepper Hamilton attorneys are entitled to remove the lawsuit filed in

the 74th Judicial District Court of McLennan County, Texas to the United States District Court for

the Western District of Texas, Waco Division.




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         WHEREFORE, Defendants Pepper Hamilton LLP, Leslie M. Gomez, and Gina Maisto

Smith remove this action from the 74th Judicial District Court of McLennan County, Texas, to

this Court.

                                                Respectfully submitted,


                                            By: /s/ William D. Cobb, Jr.
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                                                ATTORNEYS FOR DEFENDANTS
                                                PEPPER HAMILTON LLP,
                                                LESLIE M. GOMEZ, AND
                                                GINA MAISTO SMITH




                               CERTIFICATE OF SERVICE

       This will certify a true and correct copy of this document has been forwarded to all
counsel of record, either by e-service, telefax, electronic mail, certified mail, return receipt
requested, and/or regular U.S. mail on January 23, 2017.

                                                By: /s/ William D. Cobb, Jr.
                                                  WILLIAM D. COBB, JR




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